           Case 2:21-cv-00132-AKK Document 6 Filed 04/22/21 Page 1 of 1            FILED
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                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


 D’WANNA WILLIAMS,                       )
                                         )
         Plaintiff                       )
                                         )
 vs.                                     )   Civil Action Number
                                         )    2:21-cv-00132-AKK
 SPEEDTRACK, INC.,                       )
                                         )
         Defendant.                      )
                                         )
                                         )
                                         )

                                     ORDER

         In light of D’Wanna Williams Notice of Voluntary Dismissal Without

Prejudice, doc. 5, it is ORDERED that this case be DISMISSED WITHOUT

PREJUDICE pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure. The clerk is DIRECTED to close the file. Each party to bear its own

costs.

         DONE the 22nd day of April, 2021.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE
